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                           Appeal No. 23-109


              UNITED STATES COURT OF APPEALS
                 FOR THE FEDERAL CIRCUIT



                    In re WAVERLY LICENSING LLC
                              Petitioner.


 On Petition for Writ of Mandamus to the United States District Court for
 the District of Delaware in Nos. 1:22-cv-00420-CFC and 1:22-cv-00422-
                    CFC, Chief Judge Colm F. Connolly.

RESPONDENT AT&T MOBILITY LLC’S RESPONSE PURSUANT
   TO ORDER ON PETITION FOR WRIT OF MANDAMUS


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                                        AT&T Mobility LLC

December 9, 2022
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                                RESPONSE
      Defendant AT&T Mobility LLC (“AT&T Mobility”) provides the

following response pursuant to this Court’s December 2, 2022 Order

concerning the petition filed by Waverly Licensing LLC (“Waverly”) for a writ

of mandamus directing the United States District Court for the District of

Delaware to vacate its September 21, 2022 order setting an evidentiary

hearing for December 6, 2022, and to otherwise end proceedings relating to

the district court’s standing orders of April 18, 2022. AT&T Mobility and

Waverly have resolved their dispute and filed a stipulation of dismissal of

Case No. 1:22-cv-00420-CFC (D.I. 28). AT&T Mobility takes no position on

Waverly’s petition because, consistent with the resolution reached in this

litigation, and solely with respect to this litigation—which the parties

resolved prior to the Court’s December 2, 2022 Order—AT&T Mobility does

not intend to oppose the Court’s entry of dismissal as set forth above, to take

any action to vacate or modify the dismissal order, or to appeal or otherwise

challenge any order or judgment in this litigation.




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Dated: December 9, 2022                  Respectfully submitted,

                                         /s/ Christopher D. Bright

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                    CERTIFICATE OF COMPLIANCE

     I hereby certify that:

     1.     This Response complies with the type-volume limitation of Fed.

Cir. R. 32(b)(1) because this Response contains 170 words, excluding the

parts of the Response exempted by Fed. R. App. P. 32(f) and Fed. Cir. R.

32(b)(2).

     2.     This Response complies with the typeface requirements of Fed.

R. App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

32(a)(6) because this response has been prepared in a proportionately

spaced typeface using Microsoft Office Word in Georgia font, size 14.

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